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 4
 5   Attorney for Defendant
     JOSE LUIS MORALES
 6
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
12   UNITED STATES OF AMERICA,       ) No. CRS 07-314 LKK
                                     )
13                  Plaintiff,       )
                                     ) ORDER AFTER HEARING CONTINUING
14        v.                         ) STATUS CONFERENCE
                                     )
15   JOSE LUIS MORALES,              )
                    Defendant        )
16                                   )
     _______________________________ )
17                                   )
18
          The United States, and Defendant, Jose Luis Morales, along with
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     his Counsel, Dina L. Santos, appeared before the Court on Tuesday,
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     December 13, 2011, in case number CRS 07-314 LKK.         At that time, based
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     upon the representations and agreement of all Counsel, the Court
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     ordered that a status conference be set for Tuesday, February 14, 2012.
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     The Court also confirmed the already set jury trial date of June 26,
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     2012, and that the time beginning December 13, 2011, and extending
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     through June 26, 2012, was excluded from the calculation of time under
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     the Speedy Trial Act.    The exclusion of time is appropriate due to
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     defense Counsel’s need to effectively prepare and take into account the
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 1   exercise of due diligence.      18 U.S.C. Section 3161(h)(7)(B)(iv); Local
 2   Code T-4.
 3
 4         ACCORDINGLY, IT IS HEREBY ORDERED, that time for trial under the
 5   Speedy Trial Act, 18 U.S.C. § 3161 et. seq. be tolled pursuant to §
 6   3161(h)(7)(A) & (B)(iv), Local code T-4 (time to prepare), and that the
 7   ends of justice served in granting the continuance and allowing the
 8   defendant further time to prepare outweigh the best interests of the
 9   public and the defendant in a speedy trial.
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12                                      O R D E R
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14       IT IS SO ORDERED.
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16                   By the Court,
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20 Dated: December 19, 2011
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     Stipulation and Order                   2
